                                                                            Motion GRANTED.



                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
                                            )
       v.                                   )       No. 3:15-00071-1
                                            )       Judge Trauger
                                            )
MATTHEW McKERVEY                            )

                  MOTION TO JOIN IN “MOTION TO CONTINUE TRIAL”

       Comes now Matthew McKervey, through counsel Michael C. Holley, Assistant Federal

Public Defender, and respectfully moves to join and adopt Defendant Daniel Alcala’s Motion to

Continue Trial (D.E. 40). Mr. McKervey would show that he seeks and is entitled to the same

relief as described in this motion. A waiver of Mr. McKervey’s speedy trial rights has been

executed and is filed herewith.


                                            Respectfully submitted,

                                            /s/ Michael C. Holley
                                            MICHAEL C. HOLLEY
                                            Assistant Federal Public Defender
                                            810 Broadway, Suite 200
                                            Nashville, Tennessee 37203
                                            (615) 736-5047


                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 17, 2015, I electronically filed the foregoing Motion to
Join in “Motion to Continue Trial” with the U.S. District Court Clerk by using the CM/ECF
system, which will send a Notice of Electronic Filing to Mr. Sunny A.M. Koshy, Assistant
United States Attorney, 110 Ninth Avenue South, Suite A961, Nashville, TN 37203.

                                            /s/ Michael C. Holley
                                            MICHAEL C. HOLLEY




   Case
    Case3:15-cr-00071
          3:15-cr-00071 Document
                        Document44  Filed11/17/15
                                 41 Filed 11/18/15 Page
                                                    Page11
                                                         ofof
                                                            11 PageID
                                                              PageID #:#:
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